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                                                                             EXHIBIT B
 STATE OF NORTH CAROLINA                       THE GENERAL COURT OF JUSTICE
                                                  SUPERIOR COURT DIVISION
 WAKE COUNTY                                            23 CVS 21414-910

 SLOAN RACHMUTH, EDUCATION
 FIRST ALLIANCE, INC., EDUCATION
 FIRST ALLIANCE PAC, and
 EDUCATION FIRST ALLIANCE NC,
 INC.,
                                                  PRELIMINARY INJUNCTION
               Plaintiffs,

 V.

 KARI DONOVAN,

               Defendant.




       This cause came on to be heard and was heard before the Honorable Clayton

 Somers, presiding Superior Court Judge, in Wake County Civil Superior Court on

 January 30, 2024, upon Plaintiffs' Motion for Preliminary Injunction. The Plaintiffs
 were represented by James T. Johnson, Esq. of DeMent Askew & Johnson, LLP and

 the Defendant Kari Donovan ("Defendant") was notified of the time and place of the

 hearing but failed to appear. After reviewing the Affidavit of Sloan Rachmuth, the

 Plaintiffs' Verified Motion, the First Amended Complaint (which was verified by the

 Affidavit of Sloan Rachmuth), and other pleadings filed in this action, the Plaintiffs'

 Memorandum of Law in Support of Plaintiffs' Motion for Preliminary Injunction,

 and after hearing arguments of counsel, the Court makes the following FINDINGS:

       1.     This Court has jurisdiction of the subject matter and has personal

 jurisdiction over Defendant.
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        2.     Defendant has failed to respond to the First Amended Complaint and

 is in a state of Default.

        3.     Defendant has failed to respond to duly served discovery requests.

        4.     Plaintiffs' Motion for Temporary Restraining Order ("TRO") was heard

 before the Honorable Gail M. Adams on January 22, 2024. Defendant was notified

 of the date and time of the hearing on the TRO but did not appear at the hearing.

 Judge Adams granted the Motion for Temporary Restraining Order ("TRO") and on

 January 24, 2024, signed the TRO, which set the hearing on Plaintiffs' Motion for

 Preliminary Injunction for January 30, 2024. Defendant was served a copy of the

 TRO and a copy of the Notice of Hearing setting the hearing on the Preliminary

 Injunction for January 30, 2024.

        5.     Defendant did file a written motion for continuance of this hearing on

 January 26, 2024 ("Defendant's Motion"); however, Defendant's Motion is not

 properly before the Court and Defendant did not appear to make Defendant's

 Motion in person. To the extent Defendant's Motion is properly before the Court,

 the Defendant's Motion is hereby DENIED by the Court.

        6.     Defendant has continued to make allegedly false and defamatory

 publications about Plaintiffs while at the same time is disregarding her obligations

 and responsibilities as to this lawsuit without concern for any ramifications that

 may result from such disregard.

        7.     Based on a review of the First Amended Complaint and the 51

 different allegedly false and defamatory publications referenced in the First



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 Amended Complaint (which has been verified by the Affidavit of Sloan Rachmuth)

 and the allegedly defamatory publications referenced in Plaintiffs' Verified Motion

 for Preliminary Injunction that Defendant has published since the filing of the First

 Amended Complaint, there is a likelihood Plaintiffs will succeed on the merits of

 their claims at the trial of this action or upon any other hearing of final

 adjudication.

       8.        Based on Plaintiffs' showing of damages and injury contained in the

 verified First Amended Complaint and in the Verified Motion for Preliminary

 Injunction, and based on Defendant's continuing to publish allegedly defamatory

 publications throughout the pendency of this litigation, and further based on

 Plaintiffs' showing that the type of damages and injury are of the type to which the

 Plaintiffs should not be required to submit or the Defendant permitted to inflict,

 and are of such continuous and frequent recurrence that no reasonable redress can

 be had in a court of law, if a restraining order is not issued there is a likelihood that

 Plaintiffs will suffer irreparable harm.

       9.        There is no constitutional right to false, defamatory speech.

       ACCORDINGLY, the Court concludes that the issuance of a preliminary

 injunction is necessary to protect Plaintiffs' rights and to maintain the status quo

 during the pendency of this civil action.

       IT IS THEREFORE, HEREBY ORDERED that Plaintiffs' Motion                         for

 Preliminary Injunction is granted and that Defendant is hereby enjoined and

 barred from the following:



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       1.   Making or publishing to a third party any false and defamatory
            statement or inference that Sloan Rachmuth has committed a
            crime, fraud, or financial malfeasance;

       2.   Making or publishing to a third party any false and defamatory
            statement or inference that Education First Alliance, Inc.,
            Education First Alliance PAC, or Education First Alliance NC, Inc.
            has committed a crime, fraud, or financial malfeasance;

       3.   Making or publishing to a third party any false and defamatory
            statement or inference that Education First Alliance, Inc.,
            Education First Alliance PAC, or Education First Alliance NC, Inc.
            is fake, illegal, or is operating illegally;

       4.   Making or publishing to a third party any false and defamatory
            statement or inference that Sloan Rachmuth has been unfaithful to
            her husband;

       5.   Making or publishing to a third party any false and defamatory
            statement or inference that any of the Plaintiffs were involved in
            the December 3, 2022, Moore County power grid shooting attack;

       6.   Making or publishing to a third party any false and defamatory
            statement or inference that any Plaintiff has committed perjury or
            plagiarism;

       7.   Making or publishing to a third party any false and defamatory
            statement or inference that Sloan Rachmuth has physically
            attacked or has threatened to physically attack any North Carolina
            state politician, official, or political candidate;

       8.   Making or publishing to a third party any false and defamatory
            statement or inference that Sloan Rachmuth has physically
            attacked or has threatened to physically attack any family member
            of any North Carolina state politician, official, or political
            candidate;

       9.   Making or publishing to a third party any false and defamatory
            statement or inference that any Plaintiff has made a death threat
            against any North Carolina state politician, official, or political
            candidate; and

       10.Making or publishing to a third party any false and defamatory
          statement or inference that any Plaintiff has made a death threat


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           against a family member of any North Carolina state politician,
           official, or political candidate.

        It is further ordered that "making or publishing" as used herein shall include,

 but not be limited to, statements included in any correspondence, emails, text

 messages, social media messages, videos posted on social media or sent to a third

 party in some other form or medium, and posts or comments that are published on

 any social media website, page, or blog.

        It is further ordered that "third party" as used herein is any other party not

 named as a party in this civil action. Regarding the corporate entities named as

 parties in this civil action, Education First Alliance, Inc., Education First Alliance

 PAC, and Education First Alliance NC, Inc., any person other than an officer or

 manager of one of these named corporate entities is considered a third party to this

 action. So, sending a defamatory publication as enumerated herein to a supporter

 or donor, or prospective supporter or donor, of one of these named corporate entities

 is a violation of this Order.

        Regarding security, the Court finds that it is doubtful the enjoined party will

 suffer any damage or loss if it is later determined this injunction was not necessary

 or inappropriately issued; therefore, the Court is dispensing with the security

 requirement and is not requiring Plaintiff to post a bond at this time.

        IT IS FURTHER ORDERED that this Preliminary Injunction is intended as

 temporary relief and shall remain in effect during the pendency of this civil action

 only, or as otherwise ordered by the Court.




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                              31st
       SO ORDERED, this the          day of January, 2024.
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                         THE HONORABLE CLAYTON SOMERS
                         SPECIAL SUPERIOR COURT JUDGE




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